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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 HUNTER HARRIS and CORA CLUETT

                                Plaintiffs,

 v.
                                                        C.A. No. 1:21-cv-11244-DJC
 UNIVERSITY OF MASSACHUSETTS
 LOWELL, JACQUELINE MOLONEY,
 UNIVERSITY OF MASSACHUSETTS
 BOSTON, MARCELO SUAREZ-OROZCO
 and SHAWN DE VEAU,

                                Defendants.


                            DEFENDANTS’ MOTION TO DISMISS

       Defendants hereby move to dismiss with prejudice the Complaint in this matter pursuant

to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). In support of this motion, the Defendants respectfully

refer the Court to Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Preliminary

Injunction and in Support of Motion to Dismiss (“Memorandum”), filed herewith.

       For the reasons described in Defendants’ Memorandum, Plaintiffs’ Complaint — which

seeks to enjoin the Defendants from imposing a requirement that students receive a COVID-19

vaccination prior to returning to campus for the Fall 2021 semester — fails to state a claim upon

which relief can be granted because the various federal constitutional arguments raised by

Plaintiffs are deficient as a matter of law and are contrary to controlling Supreme Court caselaw

and numerous federal court decisions that have held compulsory vaccination measures to be

constitutional and well within the discretion of state authorities to protect the health, safety, and

welfare of the public. Specifically, the Court can and should determine that Plaintiffs’



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procedural due process claim (Count I) is invalid because the Vaccine Requirement is a

prospective rule of general application that is not subject to the notice and hearing requirements

of the Due Process Clause. (Memorandum, pp. 13-15). Likewise, the Court can and should

determine that Plaintiffs’ substantive due process claim (Count II) is deficient as a matter of law

because the University’s Vaccine Requirement has a “rational basis” and, therefore, satisfies the

applicable standard for state action in this case. (Memorandum, pp. 15-22).

       Plaintiffs’ free exercise of religion claim under the First Amendment (Count III) also fails

as a matter of law because students have no constitutional right to a religious exemption to

vaccination requirements. Nikolao v. Lyon, 875 F.3d 310, 316 (6th Cir. 2017); Phillips v. New

York, 775 F.3d 538, 543 (2d Cir. 2015); Klaassen v. Trustees of Indiana University, 2021 WL

3073926, *25 (N.D. Ind. 2021). (Memorandum, pp. 35-36)

       Finally, since all of Plaintiffs’ federal claims fail as a matter of law, their statutory claim

under 42 U.S.C. § 1983 (Count IV) also fails. City of Oklahoma City v. Tuttle, 471 U.S. 808,

816 (1985). (Memorandum, pp. 37-38).

       In addition, Plaintiffs’ claims against UMass Boston and UMass Lowell (both “arms of

the state” under First Circuit precedent) should be dismissed in their entirety because the

Eleventh Amendment bars federal suits against the state or state agencies. O’Neill v. Baker, 210

F.3d 41, 47 (1st Cir. 2000). (Memorandum, p. 26, 36). Lastly, all of Plaintiffs’ claims and/or

arguments under state law, including the Massachusetts Constitution, are barred by the Eleventh

Amendment, which prohibits the Court from exercising subject matter jurisdiction over state law

claims brought against state defendants in federal court. Pennhurst State Sch. & Hosp. v.

Halderman, 465 U.S. 89, 106 (1984). (Memorandum, p. 10).




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       Wherefore, Defendants respectfully request that Plaintiffs’ Complaint be dismissed with

prejudice.



                                              Respectfully submitted,



                                              MAURA HEALEY
                                              ATTORNEY GENERAL

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                                              Counsel for the Defendants

August 17, 2021



                            LOCAL RULE 7.1 CERTIFICATION

       I certify that I have conferred with counsel for Plaintiffs by telephone and attempted in
good faith to narrow or resolve the issues that form the basis for this motion. After conferring,
we were unable to narrow or resolve the issues presented.

                                                     /s/ Richard S. Weitzel
                                                     Richard S. Weitzel
                                                     Assistant Attorney General




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                                CERTIFICATE OF SERVICE

        I certify that, on August 17, 2021, this document was filed through the Electronic Case
Filing (ECF) system and thus copies of will be sent electronically to the registered participants
identified on the Notice of Electronic Filing (NEF).


                                                     /s/ Richard S. Weitzel
                                                     Richard S. Weitzel
                                                     Assistant Attorney General




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